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  FILE NO.:     00638.1399                                                                March 10, 2023

 By ECF (without enclosures) and E-mail
 Gary Tsirelman, Esq.
 Stefan Belifanti, Esq.
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 65 Jay Street
 Third Floor
 Brooklyn, NY 11201

              Re:      Sky Medical Supply, Inc. v. SCS Support Claims Services, Inc., et al.
                       Docket Number 12-cv-06383

 Dear Counselors:
        We are counsel to Dante Brittis, M.D.; Joseph C. Cole, M.D.; Christopher Ferrante, D.C.;
 Robert A. Sohn, M.D.; and Julio Westerband, M.D. (the “GW Defendants”). We enclose for service
 the GW Defendants’ motion for partial summary judgment based on statute of limitations grounds,
 which includes the following papers:

                    1. Notice of Motion,

                    2. The GW Defendants’ Local Rule 56 Statement of Material Facts,

                    3. Declaration of Justin M. Vogel in Support of Motion for Summary Judgment dated
                       March 10, 2023, with Exhibits 1-14; and

                    4. The GW Defendants’ Memorandum of Law In Support of Motion for Partial Summary
                       Judgment.

         Pursuant to the Court’s directions on bundling and e-filing at the end, all motion papers will
 be electronically filed on August 31, 2023.

                                                                            Very truly yours,

                                                                            /s/ Justin M. Vogel

                                                                            Justin M. Vogel

 Enclosures
 cc:    All Counsel of Record via ECF (without enclosures) and E-mail (with enclosures)


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